Case 1:15-cv-05871-KPF Document 18 Filed 08/25/16 Page 1 of 38

UNITED STATES DISTRICT COURT

 

   
 

DETECTIVE LINDA SIMMONS Individually,
| DOCUMENT |

and as an employee of the New York City Police
Department, ADA MARIA STROHBEHN and ELE
; 42 <CTRON] ~

CALLY

DOC #: PILED

ADA KENYA WELLS Individually,

and as employees of the New York County

District Attorney’s Office, THE CITY OF NEW YORK,

Deputy DA Audrey Moore, ADA Larry Newman, ADA D ATE FID p veer yee; a

Laura Higgins nee Richendorfer, DA Cyrus Vance Jr., aE -EDs: g - 5- IC
—~ ‘a

as employees of the New York County District
Attorney’s Office, Inspector Obe of the New York City
Police Department, in her capacity as an employee
of the New York City Police Department,
Rose Pierre-Louis in her capacity as the Former
Commissioner of Domestic Violence of the
City of New York, PO Matthew Winters, individually
And in his capacity as an employee of the New York City
Police Department, Manhattan District Attorney’s Employee

DEFENDANTS,

SOUTHERN DISTRICT OF NEW YORK
x
KELLY PRICE
Index No.: 15-CV-05871
PLAINTIFF JURY TRIAL DEMANDED
-against-
—_
IU 2.
SDC SDNY —— i

 

Notice of Intention to Refile Complaint as Ordered by

 

Hon. Loretta A. Preska 30 days from date of Receipt of Order by 9/1/16
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c =
. GZ ry
Kelly Price > = rr}
Pro S Som f°
To se o wn ry
oa aR
534 w 187" st. apt #7 S$ 0p «x
uy a rT
= oo ~

SoS

New York, NY 10033

_ August 25, 2016 -
Dear Hon. Preska:
By order dated July 26, 2016, and post-marked to me on July 27, 2016 (Exhibit #1) you requested that I
amend my complaint for the above-noted docket. In your order you instructed me to fulfill your instructions within

thirty (30) days. The order was post-marked at the Federal Courthouse on 7/27/2016. I received the order in the
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mail on August 2, 2016. I will be submitting a revised complaint as per your very generous instructions on
September 1, 2016 as I need the entire 30 days to dispatch the work.

Iam also submitting a motion for reconsideration as I would like to include in my complaint actions
undertaken by the NYPD and MDAO before my false arrest(s) that commenced on March 24, 2011 and was (were)
resolved/dismissed on or about July 24, 2012. I feel I am entitled to ask the court for reconsideration as I had no
reason to know of the injury that is the basis for those pre-arraignment claims in 2011 when I was suffering from
severe Complex Post-Traumatic Stress Disorder (Exhibit #2 Mental Health Diagnosis of C-PTSD and #3 Notes from
CONNECT NYC detailing confusing and traumatic time in my life in 2011) and consistently triggered by attacks by
my pimp and batterer’s associates with no protection from the NYPD. My focus was on my survival: I had no
way of filtering the constitutional violations being levied against me by the very-sophisticated players who also
called themselves assistant district attorneys at that time. As section 1983 claims generally accrue when a plaintiff
knows or has reason to know of the injury that is the basis of the claim (Hogan v Fischer, 783 F.3d 509, 518 (2° Cir.
2013)). I am filing to formerly ask the court to reconsider its decision as ordered on July 26, 2016 to limit my
claims to July 24, 2012, the date of dismissal of charges against me. I would like to be able to file for all actions by
the NYPD and MDAO against me from the date of their first arrest of me on or about in October, 2010 for allegedly
filing a false police report (Dismissed and sealed also on 7/24/2012.) I hope very much that the court will give me
the opportunity to include in my complaint constitutional harms to me that occurred before my arraignments.

Additionally, I will be turning in a request for PRO BONO counsel to the court with my re-write for the
following reasons:

(1) The constant reminder of the traumatic events I have to deal with in the complaint re-writing is a strain on my
emotional, mental and physical well-being. Traumatic events are stored in a separate part of the brain and recalling
them activates chemicals in the brain that make accurate memory recall about the traumatic incident impossible,
spur emotional upsets, (Exhibit #4 The NeuroScience of Trauma) and ramp up symptoms of C-PTSD considerably

(Exhibit #2-Mental Health Diagnosis.) a5

(2) The City Law Department has already put the appellant panel on notice (Exhibit #5 Letter from City Law
Department dated 1/27/2016) that it will not be representing three of the parties named in my complaint (Simmons,
Obe and Pierre-Louis) and I have no way of tracking down the addresses of a retired NYPD police officer (I did this

once before and it took me four years to track down Lt. LaRocca in Florida and even then I got extremely lucky), a

 
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former NYC Commissioner of Domestic Violence, and a Current NYPD Police Inspector.

(3) [have held out hope that either Alex Reinert, Ron Kuby or Norman Siegel would take my case but they are all so
busy. Currently Mr. Siegel has expressed much interest in my case because I pointed out that quite possibly the
absolute immunity defenses of the MDAO may be stricken as their actions towards me in their role as court
advocate were INTER-TWINED with NON-ADVOCATE functions of intervening in the NYPD’s investigative
process as Lt. LaRocca’s affidavit suggests (Exhibit #6 Affidavit from Lt. Larocca). As established in Doe v.
Phillips (citing Doe v. Phillips, 81 F.3d 1204 (2d Cir. 1996). I will need an attorney to help me navigate this very

complicated case law.

(4) Lam also in desperate need of a lawyer to help me guide the class of people maliciously prosecuted by the
MDAO for CPLR 240.30(1) and other trafficking victims whose rights were eschewed by authorities seeking to
make use out of their proffer on other, unrelated cases and unjustly targeted for prosecution and placed on the
“Comp-Stat” list. I have found many other victims that have suffered the same constitutional injuries springing
fromthe same. ill-charged statute of the NYS penal code in the interim between your two orders and want to try to.

order the city to change its practices.

For the above-stated reasons I am asking you to allow me the full 30-days from the date that I received your order to
re-write my complaint and not to dismiss the action before you are in receipt of it on 9/1/16. I’m not sure if I should
turn it in as I am requesting a reconsideration of that order but I don’t want to risk dismissal so will turn it in
regardless. If you do choose to grant my request for reconsideration and allow me to include actions dating from
prior to 7/24/2012’s criminal case dismissals please feel free to ignore the re-write I hand in on 9/1/16. Likewise if
you do grant me pro bono counsel and grant leave for that person to rewrite my complaint please do feel free to

ignore the third amended complaint I turn in on 9/1/2016 as well.

Hon. Judge Preska: Thank you for your patience and kindness towards me and my pleadings. This case represents
the entirety of the dreams I have for my future. The possibility to have codified by the Federal Court that I was
wronged, that my life was felled at the point when I was at my darkest, weakest, and most vulnerable by the very
people meant to protect me is the stuff that keeps me going and I can’t thank you enough for continuing to offer me

and my sad pleadings a glimmer of hope.

 
Kally Price

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j Sworn to me this 25" Day of com Doral). Pallet ~
Dorehen A. hejdheltt Adeteeny Pablow

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EXHIBIT

 
 

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EXHIBIT #

 
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COMMUNITY
COUNSELING
& MEDIATION

115 West 31st Street . Sth Floor . New York, NY 10001
H 212 564 6006. X 212 564 3440. CCMNYC.O

January 25, 2016

To Whom It May Concern,

Ms. Kelly Price is a client here at the Manhattan clinic of Community Counseling
and Mediation. She is seen for weekly psychotherapy and has been diagnosed
with: F43.10 Posttraumatic Stress Disorder, She began treatment on December
29, 2015 and her most recent appointment was Friday, January 15".

Please inform if there is any additional information you may need.

Sincerely,

 

Alyssa Rodriguez, MHC Intern

BOARD OF DIRECTORS 2 4 tf
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EXHIBIT

 
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Case 1:15-cv-05871-LAP Document12 Filed 02/26/16 Page 18 of 48

 

 

 

 

 

~~ 9/7/2011.

 

 

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and the DA'S OFFICE. dmennaonuaoan oo

SD met with CL at CVTC. 7
9/7/2011|SD did a lot of CC with CL ‘during ¢ our meeting. — Crisis.
sil ss i |Counseling
9/7/20111SD s/w CL about the likelinood that the charges against her will be —_|Info-Legal
dropped. a
9/7/20111SD s/w CL about the history of DV b/w them and described the \Info-Other
| common tactics used by abusers to get what they want. fo
9/7/20111SD advised CL that the court calendar governs when certain things iInfo-Legal
jhappen, so if the ADA is planning on dropping the charges, he/she
____ {can do so at that court date.
9/7/20111SD suggested that CL look into the CCRB as a possible mechanism |Info-Legal
for holding the 28th precinct cops accountable for what they've done |
ito her. -
9/7/20114SD advised CL that the only real oversight with NYPD comes from |Info-Legal
- IAB (which she's already involved with) and the CCRB. if
9/7/2011/SD advised CL that in cross-complaint cases, credibility is key and _jInfo-Legal
the pending criminal case against her puts her at a disadvantage as |
___}far as that's concerned. |
-9/7/2011|SD informed CL that the first focus. should be getting the charges __IInfo-Legal
dropped and once that's resolved, then see if it's possible to re-open
_. the assault case against RESP. __ __., -
9/7/2011|SD gave CL my card with the LAP HL # on it in case she needs to __|Info-Legal
; contact me.
9/14/2011] SD s/w CL who called i in for me at CVTC. Follow Up
9/14/2011)SD, with Lisa H. @ CVTC, attempted to contact Lisa Callahan @ the |CJA-DA
[Mn DA's office. No answer. Left vm with my direct line and extension |
| ____ fto call me back. | _
9/14/2011 sD advised CL that b/c of the bureaucratic nature of the system, \Info-Legal
|correcting mistakes like this take an extensive amount of time. a
9/14/2011\CL expressed fear at being incarcerated "for the rest of her life,” and info-Legal
SD reminded her that these are all MISD charges and carry a
imaximum of 1 year. _ ——
9/14/2011|SD advised CL that we tried to call Lisa Callahan at the DA's office, |Info-Legal
but there was no answer so we left a message asking her to call me
; back at the office on my extension.
9/14/2011|SD advised CL that we have a working relationship with the DA's Info-Legal
___joffice and will try to utilize that to help her.
10/14/2011]SD called Lisa @ CVTC to s/w her on CL's behalf about Belinda PA-Legal
| escorting CL to her appt with a City Council member to discuss her
|_____|treatment by NYPD and the DA's office. No answer. Left vm. fo
10/28/2011 |SD sAv CL who called for me on the HL. Follow Up
10/28/2011 SD offered CL emotional support given her treatment by the police Crisis

 

_ {Counseling

 

 

 
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“10/28/2011 1S advieed CL that | can call the precinct to speak with the DVPO __|Info-Legal "
who took her rep't on RESP's latest attack (a PO Simmons) and find |
| __jout what happened w/ the DIR. _ . —|
10/28/2011)SD advised CL that both Lisa @ GVTC and | have been trying to get | Info-Legal
ithrough to the DA's office about getting the charges dropped but
m __ we're not getting anywhere on that front. 4d —
10/28/20111SD advised CL to send me her copy of the DIR and then | can call Info-Lega!
the 28th precinct to speak with DVPO Simmons about how it was
- "lost" according to Lt. LaRocca. Gave CL our fax #. 4
11/1/2011|SD called the 28th precinct to speak w/ DVPO Simmons about this (CJA-Police
DIR. She was very resistant and wasn't able to provide any info
except that the report got "lost in the system". Her stance was that
CL must return to the precinct to file another one.
11/8/20111SD s/w CL about Belinda accompanying her to the precinct to make |Info-Legal
la report as well as to her meeting with Christine Quinn's office to
report her treatment by the police. .
11/8/2011|SD offered CL emotional support and validated her feelings about {Crisis
__ {the 28th precinct's handling of her case. Counseling -
11/8/2011 SD gave CL a run-down of the very unproductive phone call | had |Info-Legal
ith the DVPO last week, and advised her that the issue is definitely~
not her fault. oe a 2 _
41/8/2011/CL called on the HL and SD s/w her about what happened when! {Follow Up
__ {called the 28th precinct last week. _
11/8/2014 {SD emailed KT & Anindita about having Belinda accompany CLto j|PA-Legal
____ {the 28th precinct to re-file the DIR that they "lost" in their system.
11/9/2011 {SD s/w CL briefly at CVTC about Belinda accompanying her to the = |Follow Up
/ _ {28th precinct. CL was just getting out of group at CVTC. ho
11/9/2011|1SD siw CL briefly at CVTC about Belinda accompanying her to the Info-Legal
___j28th precinct. CL was just getting out of group at CVTC. —
11/9/2011|SD provided CL w/ emotional support about her treatment by the Crisis
[28th and confirmed that | was also stonewalled by the DVPO there. [Counseling
11/9/2011/SD advised CL that | would meet with Belinda on Friday to go over __|info-Legal
iCL's case with her, so she should be able to accompany her next
a week, " " =
11/15/2011}SD called CL to set up a time for Belinda to accompany herto the [Follow Up
precinct in order to make a report. No answer. Her voice mail box
was full so | couldn't leave a message.
11/15/20111SD called Lisa @ CVTC to s/w her about CL. No answer. Left vm PA-Legal
___jasking for a call back. __ to
41/15/2011|SD s/w Lisa @ CVTC who returned my phone ‘call, Discussed the PA-Legal
accompaniment to the 28th precinct as well as CL possibly testifying
; at City Council.
_11/16/2011|SD met with CL “at CVTC and k briefly discussed Belinda escorting her linfo-Other _

 

 
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to the 2 28th precinct to file her DIR as well as possibly testifying at
City Council early | next yr.

 

to the 28th precinct to file her DIR as well as possibly testifying at
\City Council early next yr. —

SD met with CL at CVTC and briefly discussed Belinda escorting her |

“Follow Up

 

11/16/2011

SD met with CL at CVTC and briefly discussed Belinda ‘escorting ‘her|
to the 28th precinct to file her DIR as well as possibly testifying at
City Council early next yr.

‘linfo-Legal

 

 

 

 

go up to the 28th precinct. |

11/22/20111SD called CVTC to siw Lisa to let her know that Kelly and Belinda |PA-Legal
will be meeting at CVTC on Thursday (12/1) to head up to the 28th |
precinct. { -
11/22/2011)BD s/w CL and arranged a date/time to meet @ CVTC and then to \Info-Legal

 

11/22/2011

able to get a hold of her and had her s/w Belinda to schedule a time
to go to the precinct. a

SD sAv CL who called in on the HL. Let her know that |hadn't been [Follow Up -

 

11/22/2011

SD s/w CL who called in on the HL. Let her know that hadn't been
able to get a hold of her and had her s/w Belinda to schedule a time
to go to the precinct.

Info-Legal ~

 

11/30/2011

SD advised CL that now that her OP was downgraded, it's critical
ithat she obtain the DIR to prove the OP violation to the IDV judge.

"info-Legal

 

 

11/30/2011

SD called CL to s/w her about meeting tomorrow w/ BD to head to
the 28th precinct. a

|Follow Up _

 

11/30/2011

SD provided CL emotional support ‘bic of what occurred in IDV wi
iher OP (hers was downgraded to a limited OP and he still has a stay
away against her).

Crisis

Counseling

 

 

41/30/2011

SD s/w CL about what h happened i in IDV court yesterday wi her OP.

~|Info-Legal _

 

44/30/2011

 

SD s/w CL about the possibility of a City Council hearing and let her

jabout it.

‘Info-Other
iknow that it's still in the initial stages. | haven't heard anything more |

 

 

 

11/30/2011

SD confirmed the time/date for CL to meet with BD and head to the
precinct.

Info-Legal

 

12/1/2011

SD called Lisa @ CVTC to give her an update on what took place
itoday at the 28. No answer. Left vm. Also informed her about my
conversation w/ KT and the potential to speak directly to Audrey but
we need to be confident that there's nothing that can be used
jagainst CL.

PA-Legal

 

12/1/2011

BD met with CL at CVTC to accompany her to the 28th precinct. BD
assisted CL with filing a DIR for the OP violation and emailed SD to
linform her of what took place. CL was very happy with the effect of

herinotherrespects,

the accompaniment and articulated her desire for BD to accompany |

CJA-DA

 

 

“42/1/2011

a

 

SD siw Lisa who | called me back, ‘Discussed CLis case and

 

 

 
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lpossibility of a meeting to try and hash out the probability of going to

(KT about this.

IDA's office with a solid case for dropping the charges. Will speak to -

Counseling

 

“12/1/2011

SD s/w Lisa who called me back. Discussed CL's s.case and
possibility of a meeting to try and hash out the probability of going to
DA's office with a solid case for dropping the charges. Will speak to
KT about this.

4

PA-Legal

 

42/1/2011

IBD met with CL at CVTC to accompany her to the 28th precinct. BD
assisted CL with filing a DIR for the OP violation and emailed SD to
linform her of what took place. CL was very happy with the effect of

lthe accompaniment and articulated her desire for BD to accompany
her in other respects.

CJA-Police

 

42/1/2011

BD met with CL at CVTC to accompany her to the 28th precinct. BD
assisted CL with filing a DIR for the OP violation and emailed SD to
linform her of what took place. CL was very happy with the effect of

the accompaniment and articulated her desire for BD to accompany
her in other respects.

“linfo-Legal

 

12/1/2011

BD met with CL at CVTC to accompany her to the 28th precinct. BD

her in other respects.

assisted CL with filing a DIR for the OP violation and emailed SD to |
inform-her-of-what-took-place- Gk was-very-happy-with-the-effect-of
the accompaniment and articulated her desire for BD to accompany

Follow Up

 

42/1/2011

BD met with CL at CVTC to accompany her to the 28th precinct. BD
assisted CL with filing a DIR for the OP violation and emailed SD to
inform her of what took place. CL was very happy with the effect of

ithe accompaniment and articulated her desire for BD to accompany
her in other respects.

{Crisis
jCounseling

 

12/2/2011:

SD emailed Lisa to arrange a time for us to meet w/ KT to discuss
iCL's case and develop a strategy for advocating with the DA's office.

IPA-Legal v

 

42/5/2011

\SD sw CL who called in very upset b/c she ran into RESP at the
bodega and had to turn around and walk out while they (him and his
\friend) laughed at her.

Follow Up

 

4215/2011.

ISD s/w CL to try and ‘de- escalate her a a bit, “and. then reminded her
lthat the best thing she can do for now is protect herself from the OP
jeven though it's infuriating.

Crisis

jCounseling

af

 

|

 

12/5/2011:

iSD s/w CL to try and de-escalate her a bit, and then reminded her
ithat the best thing she can do for now is protect herself from the OP
jeven though it's infuriating.

‘Safety

Planning

 

42/5/2011

ISD advised CL that KT and | need to review her papers from court
so that we can see what exactly happened there before we can do
jany kind of advocacy on her behalf. CL will fax them today.

Info-Legal 7

 

12/6/2011.

SD called CL unblocked to f/u on her vm from yesterday about her.
ifax. It was not in the fax machine. No answer. Left vm.

Follow Up —

 

 

42/6/2011

emis ea et

 

SD shw CL who called in returning my vm. Confirmed for her that |

ae eee

 

Info-Legal

 

 
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did not receive velthel fax (checked again), so she is going to drop it by |
__|{the office today. | gave her the address. 7
12/6/2011) {SD called CL unblocked to f/u on her vm from yesterday about her |Info-Legal
fax. It was not in the fax machine. No answer. Left vm. ee
12/6/2011iSD s/w CL who called in returning my vm. Confirmed for her that! [Follow Up
. did not receive the fax (checked again), so she is going to drop it by |
. the office today. | gave her the address. __ | ;
12/7/20111SD and Lisa s/w CL about how her actions, ‘w/o the context of the linfo-Legal
history of DV against her, could have been seen as a batterer's
actions.
12/7/2011|SD met with CL at CVTC. Se CVTC ;
12/7/2011|SD and Lisa s/w CL about the common tactics batterers use to Info-Legal
lintimidate their victims, and how some of her actions and statements |
could be misrepresented to look like those tactics.
-12/7/2011}SD s/w CL about the 28th precinct and their handling of the case. |Info-Legal __|
12/7/2011|SD provided CL w/ emotional support given the handling of her case | ICrisis
7 ' {to date. iCounseling
12/712011|SD s/w Lisa about CL’s case and tried to set up a time for her to iPA-Legal
jmeet-with-KT-and-Ito-go-over-the-court-doc's-in-GL's-possession-and,
work out a coherent story to possibly present to the DA's office on
CL's behalf. - -
12/7/2011}SD s/w CL about the DA's office's handling of her case, 7 Info-Legal
12/8/2011iSD s/w Lisa and KT about setting up a meeting sometime next — PA-Legal
week.
12/13/2011)SD tried calling Lisa @ CVTC again to set up a time fo meet w/ KT \PA-Legal
re. CL's legal case. Trying for tomorrow afternoon near the end of
a the day. . pciliaticactiii
42/13/2011:SD s/w Lisa who called me back, and we set up the time of 3pm PA-Legal
_____ {tomorrow to meet w/ KT to review CL's legal case. fe
12/20/2011|SD called Lisa returning her message about setting up. a time to PA-Other
__ |meet w/ KT re. CL's legal case. No answer. Left vm. fe
42/20/2011 SD called Lisa returning her message about setting up : atime to jPA-Legal
____ {meet w/ KT re. CL's legal case. No answer. Left vm. |
12/20/2011/SD siw Lisa @ CVTC and (tentatively) set up a meeting for next PA-Legal
= __ week on Wed @ 11. am. __
42/28/2011|SD met w/ Lisa & KT re. CLs case: ‘Family Court OP, ‘Crim Court PA-Legal
____|¢harges, and proving she's a survivor of DV. |
42/28/2011 |KT met w/ Lisa & SD re. CLs case: Family Court OP, Crim Court PA-
coeur n charges, and proving she's a surivor of DV. Counseling
12/28/2011 KT met w/ Lisa & SD re. CL's case: Family Court OP, ‘Crim Court PA-Legal
_ charges, and proving she's a surivor of DV. . .
[ 12/28/2011! (SD met wi Lisa & KT re. CL's case; Family Court OP, Crim Court _|F PA-Family |

 

 

 

 

 
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of 48

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ charges, and proving she's a survivor ror DV. : |
12/28/2011|SD met w/ Lisa & KT re. CL's case; Family Court OP, Crim Court PA-
__ __ charges, and proving she's a survivor of DV. _ {Counseling _
42/28/2011/KT met w/ Lisa & SD re. CL’s case: Family Court OP, Crim Court PA-Family
charges, and proving she's a surivor of DV. {Court
4/5/2012)KT met with Lisa, SD, and CL to ‘discuss the FC case, the CC PA-Family
charges against her, short and long-term priorities and goals, and Court
forming an effective strategy to address them. - :
1/5/2012IKT met with Lisa, SD, and CL to discuss the FC case, the CC PA-Legal
charges against her, short and long-term priorities and goals, and
orming an effective strategy to address them. -
1/5/2012|/SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges Safety
against her, short and long-term priorities and goals, and forming an \Planning
effective strategy to address them.
1/5/2012|KT met with Lisa, SD, and CL to discuss the FC case, the CC Safety
charges against her, short and long-term priorities and goals, and {Planning
forming an effective strategy to address them.
4/5/2012|KT met with Lisa, SD, and CL to discuss the FC case, the CC Crisis
charges against her, short and long-term priorities and goals, and__|Counseling
_jforming an effective strategy to address them. —
1/5/2012iSD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges Crisis
against her, short and long-term priorities and goals, and forming an |Counseling
| ___ effective strategy to address them. _ I
1/5/2012)SD met w/ Lisa, KT, and CL to discuss the FC c case, the CC charges |PA-Legal
against her, short and long-term priorities and goals, and forming an |
effective strategy to address them. oe
1/5/2012)SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges |PA-Family
against her, short and long-term priorities and goals, and forming an |Court
effective strategy to address them,
1/5/2012|SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges PA-
jagainst her, short and long-term priorities and goals, and forming an |Counseling
ieffective strategy to address them. oe ss ,.
1/5/2012|KT met with Lisa, SD, and CL to discuss the FC case, the cc |PA-
icharges against her, short and long-term priorities and goals, and = |Counseling
__-—__ forming an effective strategy to address them, | —
4/11/2012|SD explained what our strategy will be in advocating with the DA's iInfo-Legal
office and reminded her that while we believe her story, we have to
know exactly what took place (whether it was incriminating or not) so.
Ithat we can lay out the entire context of DV and its impact onher |
- jactions. 122
1/11/2012|SD s/w CL about the different sub- sections of the aggravated Info-Legal
jharassment charge tl that she's facing and what they mean.
| At 1/2012|SD met w/ CL at CVTC to discuss the charges in-depth and to eet a |Follow Up |

 

 

 

 

 

 
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full account of her version of suena, _
1/11/2012iSD did some emotional, physical, and legal SP wi CL because he is \Safety
_ ___ [still calling her and she is talking to him b/c she misses him. [Planning
4/11/2012|SD provided CL w/ emotional support throughout this process. Crisis
Ln ______._ Counseling
1/11/2012|SD s/w CL in-depth about her version of events (# of phone calls |PA-Legal |
and texts, what was said, the nature of the interactions w/ him, and
her intent during these interactions). Recorded CL's version of
events in a timeline format. a
1/12/2012iKT s/w Audrey Moore, CHief of DV Bureau @ NYCo DA's office, to CJA-DA
inquire about case and raise issues of victim treated as perp. AM
p requested email with identifying email; | will follow up with her. 7
1/13/2012}SD s/w CL who called in on the HL. iFollow Up
1/13/2012|SD offered CL emotional support b/c of how traumatized she was Crisis
__lyesterday over her attorney's conduct. Counseling
1/13/2012ISD s/w CL about her decision to fire Kartegener and the possibility [Info-Legal
of tapping into her resources at the Legal Aid office since she had a
_ ____ \good feeling about them. —
4/43/2041 2|SD-siw-Cl_-about what the. plea-offer could mean for her.and that it Info-Legal
| illustrates a posible problem with the state's case.
1/13/2012{SD did some SP w/ CL bic she mentioned just waking up ) (3: 15pm) Safety
jafter taking sleeping pills the night before. She clarified that she iPlanning
_. \didn't try to overdose; she took them just to knock her out.
1/13/2012)SD called Lisa @ CVIC to update her on the case. No answer. Left [PA-Legal
jvm requesting a call back.
1/17/2012|SD called for Lisa @ CVTC again returning her vm. No answer. Left IPA-Legal
vm letting her know what happened w/ ADA since she's meeting with
| CL at 2pm today and asked her to call me. |
4/19/2012|SD s/w CL who called in on the HL but she hung. up ) when | tried to |Follow Up
talk to her about leaving a vm on our phone rather than calling over |
jand over again. | informed her that we can't have someone call
incessantly and that | was planning on returning her message when
CL got frustrated and hung up the phone. ww.
1/19/2012)KT emailed Audrey Moore and Lisa Haileselassie re: case status - |CJA-DA
___ and advocating for dismissal. , _
1/19/2012|SD s/w Lisa who. called. in retuming my vm. S/w her about CL's case | IPA-
____ land the upcoming disorderly conduct hearing. _{Counseling |
1/19/2012/SD sent KT the info for CL's case and the info for RESP who then |CJA-DA
forwarded that info to Audrey Moore at the DA's office. ee
1/19/2012|SD s/w Lisa who called in returning my vm. S/w her about CL's case | iPA-Legal
_ and the upcoming disorderly conduct hearing. 1
1/19/2012|SD s/w CL who called in on the HL but she hung up when | tried to iInfo-Legal
_ talk to her about leaving a vm on our phone rather than calling over

 

 

 

 

 

 

 
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fand over again. | informed her that we can't have someone call

 

 

lincessantly and that | was planning on returning her message when
CL got frustrated and hung up the phone, —__

 

   

 

 

 

 

 

 

 

SVB chief (Audrey Moore) in the DA's office a couple weeks ago and
we're still waiting on the outcome of that.

~"4/19/2012ISD called Lisa @ CVTC back returning her vm from earlier today. |PA-Legal
No answer, Left a detailed vm about CL as well as about the other
HL case they were helping us with. Lo
1/20/2012|SD s/w CL who called in on the HL about yesterday's conversation. "Follow Up
1/20/2012|SD gave CL emotional support in response to her anxiety over the [Crisis
7 jcriminal charges against her. Counseling _
1/20/2012|SD s/w CL about the criminal charges pending against her and the |Info-Legal
—_ {upcoming hearing on the disorderly conduct-case. fo
1/24/2012|SD s/w CL who called in on the HL w/ an update on 1 the ‘disorderly Info-Legal
conduct case. ADA Wells offered an ACD, but she did not accept.
1/24/2012/SD s/w CL who called in on the HL w/ an update on the disorderly [Follow Up
— jconduct case. ADA Wells offered an ACD, but she did not accept.
1/31/2012|SD informed CL that we gave her info and the info of the case to the jInfo-Legal

 

“4/31/2012

SD.informed.Cl that.even one missed. court. date. can-result ina
dismissal of her FC case against RESP, which is what happened.
However, she didn't show b/c Kartegener told her the wrong date
and they've given her until Mon to come back w/ a new attorney.

Info-Legal

 

“4/31/2012

SD informed CL that if ADA Wells knew she wasn't going to take the
deal, then he didn't have to formally offer it to her (it sounds like he
did not).

\tnfo-Legal

 

1/31/2012

SD s/w CL who called in on the HL very ‘upset and ‘threatening to "go
to the Bk Bridge” right now (basically providing an underlying
implication of suicidality).

Crisis
Counseling

 

1/31/2012

 

to the Bk Bridge” right now (basically providing an underlying
jimplication of suicidality).

SD s/w CL who called in on the HL very upset and threatening to "go.

Follow Up

 

2/3/2012

SD s/w CL who called in on the HL about the pending crim charges.

anted to know what we "sent" to the DA's office and | informed her
ithat we only provided her name and the docket # of the case b/c
{that's all they wanted.

Follow Up |

 

2/3/2012

SD s/w CL who called in on the HL about the pending crim charges.

that we only provided her name and the docket # of the case b/c
that's all they wanted,

Wanted to know what we "sent" to the DA's office and | informed her |

Info-Legal

 

 

~ 2/3/2012

SD confirmed w/ CL that it would still be okay to present what she
igave us to the DA's office if they ask for it. She said that was fine.

‘linfo-Legal

 

 

2/6/2012

SD called Lisa @ CVTC back returning her cail re. status of CL's
case and advocacy with DA's office.

 

 

IPA-Legal

 

a SHE NL Sw nin ett eel Lelie

 

peters step Ll

 
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tine

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irae e oes

“2/6/2012 SD s/w CL who called in to update me on the case. Follow Up

 

 

2/6/2012)SD s/w CL about the pending crim case and her new v Legal Aid \Info-Legal
lattorney.

 

 

2/6/2012|SD s/w CL about meeting w/ her Legal Aid attorney. “Will discuss w/ \Info-Legal
KT and see if there is an appropriate meeting time this week (may
not be possible this week).

 

- 2/7/2012|SD responded to CL's email w/ corrected count info, docket #'s, and jInfo-Legal
an explanation of what an ACD is for her formal complaint about the
DA's offi ce. alee el hail

 

2/7/20121SD s/w Lisa who called re. the pending criminal charges andcase |PA-
developments. Lisa will be seeing CL later today for a counseling Counseling
session.

 

 

2/7/2012iSD responded to CL's email w/ corrected count info, docket #’s, and j|Info-Legal
an explanation of what an ACD is for her formal complaint about the
DA's office.

 

2/7/2012iSD responded to CL's email w/ corrected count info, docket #'s, and |Info-Legal
jan explanation of what an ACD is for her formal complaint about the
DA's office.

 

 

2/7/2012\ SD responded to CL's email w/ corrected count info, docket #'s, ‘and Follow Up
an explanation of what an ACD is for her formal complaint about the |
DA's office.

 

2/7/2012|SD siw Lisa who called re. the pending criminal charges and case PA-Legal
developments. Lisa will be seeing CL later today for a counseling

 

 

session. |
2/7/2012iSD informed CL that Lisa @ CVTC called me re. updates on the Info-
{case and that she's prob concerned about that. apeounssling

 

2/7/2012\SD provided CL my email address b/c she would like me to look over, \Info-Legal
the formal complaint she's going to write about the DA's office's |
ihandling of her case. | agreed to look at it.

 

2/7/2012/SD informed CL that her theory as to overall office responsibility may |Info-Legal
not be true; it's highly unlikely the entire DA's office is involved (as
opposed to ADA Stroben and/or Wells).

 

2/7/2012|SD s/w CL who called in on the HL w/ an update o on the case. Her [Follow Up
neighbor is on the.community board with an inspector at the 28th,
jand the neighbor asked him what was going on w/ CL's case. The

 

2/7/2012|SD provided CL w/ emotional support re. the new info snes rec'd Crisis
jabout the DA's office's conduct in her case (according to an Counseling
inspector at the 28th precinct that is).

 

 

2/8/2012iKT emailed Lisa Haileselassie and SD re" conversation with ‘defense | PA-

 

 

 

 

jattorney and gathering evidence, developing plan for crisis \Counseling
_ _|management, reporting on performance in court, etc. _
. 2/8/2012 KT emailed Tajuana Johnson wi same info [PA-Legal__

irene eit teee ALAN ale ee i pe ah Pp ee ayaa ete MLL RE

 
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2/8/2012

KT emailed Lisa Haileselassie and SD re: conversation with defense. PA-Legal
attorney ahd gathering evidence, developing plan for crisis
management, reporting on ‘performance i in court, etc.

 

~ 2/8/2012!

KT called Tajuana Johnson, CL's new defense attorney at Legal Aid,
and left message advising of who lam and my role incase.

“PA-Legal ]

 

~ 2/8/2012!

KT emailed Tajuana Johnson w/ same info

CJA-Other__

 

2/8/2012

kT called Tajuana Johnson, CL's new defense attorney, and
discussed situaton briefly. Discussed our role and the ways we can
isupport. She is interested in our working with Kelly to prepare
documents re: her victimization. | will reach out to SD and LH re:
preparing this evidence.

~ ICJA-Other

 

2/8/2012

KT called Tajuana Johnson, CL's new defense attorney at ‘Legal Aid,
jand left message advising of who | am and my role in case.

 

CJA-Other

 

2/15/2012

SD met w/ CL briefly at CVTC re. doc's to bring to Friday's meeting
(w/ Tajuana (e.g, records from glass companies, medical records
ifrom incidents identified on her timeline, etc.), CL stated that she's
iscared about the trial and | validated her feelings about that.

 
  

 

2/15/2012

[from incidents identified on her timeline, etc.). CL stated that she’s

SD met w/ CL briefly at CVTC re. doc's to bring to Friday's meeting
w/ Tajuana (e.g. records from glass companies, medical records

jscared about the trial and | validated her feelings about that.

\Follow Up

 

Info- -Legal

 

2/15/2012

SD met w/ CL briefly at CVTC re. doc's to bring to Friday's meeting
w/ Tajuana (e.g. records from glass companies, medical records
from incidents identified on her timeline, etc.). CL stated that she's
scared about the trial and | validated her feelings about that.

(Crisis
jCounseling

 

2/16/2012.

SD called CL to remind her to bring the doctor’s reports and receipts ,
ifrom the glass companies tomorrow. No answer. Left vm and also
jemailed CL w/ the same request.

Follow Up

luli

 

2/16/2012}

SD called CL to remind her to bring the doctor's reports and receipts
lfrom the glass companies tomorrow. No answer. Left vm and also
emailed CL w/ the same request.

 

27/2012

|lInfo-Legal

 

KT met wi Lisa Haileselassie, Tajuana Johnson and CL to discuss
criminal case. Discussed strategy, prospects, useful ways to
prepare. ee

Follow Up

 

 

2117/2012

KT met w/ Lisa’ Haileselassie, Tajuana Johnson and CL to discuss
{criminal case. Discussed strategy, prospects, ACD v. dismissal,
juseful ways to prepare.

Safety
Planning

 

2/17/2012

KT met w/ Lisa Haileselassie, Tajuana Johnson and CL to discuss "
criminal case. Discussed strategy, prospects, useful ways to
prepare. si

PA-Legal

 

~ 2/47/2012

KT met w/ Lisa Haileselassie and Tajuana Johnson to discuss case,
Discussed outlook, position of prosecutor, attorney's impression of
{defense issues. Discussed ways we can assist, victimization, etc.

PA-Legal

 

 

27/2012

 

 

KT met w/ Lisa Haileselassie and Tajuana Johnson to discuss case.

 

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Discussed outlook, position of prosecutor, attorney's impression of

lines for CL re: safety and autonomy.

Planning
defense issues. Discussed ways we can assist, victimization, bottom |

 

 

 

“|CJA-Other

 

~ 2/17/2012 KT met w/ Lisa Haileselassie and Tajuana Johnson to discuss case.
Discussed outlook, position of prosecutor, attorney's impression of
_____|defense issues. Discussed ways we can assist, victimization, etc. | ee
2/17/2012)KT met w/ Lisa Haileselassie, Tajuana Johnson and CL to discuss j|CJA-Other

icriminal case. Discussed strategy, prospects, useful ways to
iprepare.

 

2/24/2012

jagainst her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will not be offered lower than a
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to doa
full investigation. We will support however we can. |

IKT met w/ CL and defense atty Tajuana Johnson. Discussed history Icrisis
of abuse and clarified facts from timeline. Discussed current charges [Counseling

 

against her and potential outcomes. KT and CL listened in to'TJ's
phone call with ADA Wells. They have a recording of the OP
\violation and therefore TJ feels she will not be offered lower than a
|Family ACD. Discussed future recourse for injustice of dropping
\charges against her. TJ offered to help bring a case against
jprosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a
jfull investigation. We will support however we can. Discussed safety |
issues while she remains living next door to perp w/o an active
jorder, which was dismissed 1/31/12.

KT met.w/ CLand.defense.atty_Tajuana-Johnson.Discussed history_Safety____
of abuse and clarified facts from timeline. Discussed current charges {Planning

 

 

~ 2/24/2012)

' [Family ACD. Discussed future recourse for injustice of dropping

of abuse and clarified facts from timeline. Discussed current charges
{against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
violation and therefore. TJ feels she will not be offered lower than a

charges against her. TJ offered to help bring a case against
jprosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a
full investigation. We will support however we can.

KT met w/ CL and defense atty Tajuana Johnson. Discussed history Follow Up

 

 

2/24/2012

- violation and therefore Td feels she will not be offered lower than a

of abuse and clarified facts from timeline. Discussed current charges
against her and potential outcomes. KT and CL listened in to TU's
phone call with ADA Wells. They have a recording of the OP

 

 

KT met w/ CL and defense atty Tajuana Johnson. Discussed history |CJA-Other

 

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Family ACD. Discussed future recourse se for injustice of dropping
icharges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a |
full investigation. We will support however we can.

 

~ 2/24/2012

KT met w/ CL and defense atty Tajuana Johnson. Discussed history

against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will not be offered lower than a
leamily ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
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ull investigation. We will support however we can.

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\PA-Legal

 

2/24/2012

IKT met w/ CL and defense atty Tajuana Johnson. Discussed history
of abuse and clarified facts. from timeline. Discussed current charges
against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will not be offered lower than a
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and

 

full investigation. We will support however we can.

will consider whether to accept ACD. TJ advised she intends to do a

Info-Legal

 

~ 2/24/2012

Discussed right to file for another OP if necessary,

lInfo-Family
Court

 

9/27/2012

SD informed CL that | don't know how this is all going to play out, but:
that the ADA has to prove that she had the intent to commit the
crimes she's charged with.

 

3/27/2012

SD advised CL to take her cues from Tajuana and to let her handle
thecase.

Info- -Legal

“|Info-Legal

 

2/27/2012

SD s/w CL briefly but | had not spoken to KT yet about the meeting
they all had on Friday (| was out of town). Provided her w/ some
emotional support and also discussed the statements the ADA
apparently made to Tajuana.

Info-Legal

 

~ 2/27/2012

SD s/w CL briefly but | had not spoken to KT yet about the meeting
ithey all had on Friday (Il was out of town). Provided her w/ some
emotional support and also discussed the statements the ADA
apparently made to Tajuana.

Follow Up

 

"2/27/2012

SD s/w CL briefly but | had not spoken to KT yet about the meeting
they all had on Friday (| was out of town). Provided her w/ some
emotional support and also discussed the statements the ADA
apparently made to Tajuana.

Crisis

Counseling

 

 

eens

 

SD s/w CL who called in scared about the hearing on Tuesday. SD |

 

Crisis

12

 

 
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offered ‘emotional support. - _ Counseling

3/2/2012|SD s/w CL who called back to ask about the ACD and her ability to |Info-Legal
sue after the 1 yr time period is up. | confirmed what both KT and
[Tajuana told her about this on Friday.

3/2/2012/SD s/w CL who called back to ask about the ACD and her ability to |Follow Up
sue after the 1 yr time period is up. f confirmed what both KT and |
Tajuana told her about this on Friday. |

3/2/2012|SD s/w Lisa @ CVTC about my conversation wi CL earlier today. iPA-
Let her know that CL was pretty upset, but | was able to talk her Counseling
down.

3/2/2012|SD s/w Lisa @ CVTC who returned my call. Discussed the hearing /PA-Legal
on Tuesday and the fact that she might not be able to go. Also
discussed the 30/30, which is a no go b/c Kartegener did ask for an
jadjournment.

3/2/20121SD informed CL that | have no idea who the "phone expert” the ADA |Info-Legal
jmentioned to Tajuana would be, but that Raheem has to confirm to
the court that the phone call came from CL on the alleged date after
the OP was issued. _

; 3/2/2012 SD s/w CL about Raheem showing up at the hearing on Tuesday to Info- Legal

vet the phone call for the contempt of court charge, and CL
ireiterated that he won't be there.

~3/2/2012|SD informed CL that the ADA has to prove 3 things: 1) that she _|Info-Legal
\committed the crime, 2) that she had the intent to commit the crime,
and 3) these two things beyond a reasonable doubt.

3/2/2012 SD s/w CL who called i in scared about the hearing on Tuesday. SD Follow Up |
loffered emotional support.

——————— ———— le St ee

3/2/2012 SD informed CL that if this goes to trial, the ADA has to ‘provide his Info- Legal
evidence to Tajuana who will have the opportunity to investigate all
| i Ofit

3/6/2012)SD s/w CL after hearing and advised her that it's ; essential that she [Crisis
listen to and trust Tajuana's actions in court. Confirmed what Counseling
Tajuana told her after court about how to act when in front of the
judge, and to let her make the plays.

3/6/2012|SD siw CL after hearing and informed her that when ‘Tajuana jInfo-Legal
{checked the calendar, she found that Kartegener had agreed to
i leach adjournment, so today is the first day of the 30/30 clock. This is
why she needs to let Tajuana control what's happening in court (she
was trying to push the next hearing back into April to run down the
clock). Usauaestecommecessices = :
3/6/2012|SD went to IDV w/ Tajuana, Rammel (from CVTC), and CL for PA-Legal
criminal trial hearing. People weren't ready. 30/30 time started.
Adjourned until 3/15/12.

3/6/2012 SD s/w CL after hearing and advised her that it's essential that she Info-Legal
listen to and trust Tajuana’ s actions in court. Confirmed what

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Tajuana told her after court about how to act when in front of the
judge, and to let her make the plays.

 

 

3/6/2012

SD s/w CL after hearing about the trajectory of the case over the
past year from 300+ charges to an ACD to now not being ready
when Tajuana i indicated she j is ready.

7 {Info-Legal ~

 

“3/6/2012ISD went to IDV w/ Tajuana, Rammel (from CVTC), and CL for

criminal trial hearing. People weren't ready. 30/30 time started.
Adjourned until 3/15/12.

 

3/6/2012|SD went to IDV w/ Tajuana, F Rammel (from CVTC), and CL for

Icriminal tria! hearing. People weren't ready. 30/30 time started.
Adjourned until 3/15/12.

PA-
Counseling ©

 

3/8/2012(KT siw Tajuana, CL's defense attorney, Discussed i issues with the

\PA-Legal

 

3/9/2012)KT i GL and discussed what happened i in court. Discussed

Istraying from plan, CL's concerns with prosecution, etc. Did CC. __

iFollow Up

 

3/9/2012|KT s/w CL and discussed what happened in court. Discussed

straying from plan, CL's concerns with prosecution, etc. Did CC.

Crisis
\Counseling

 

 

3/9/2012|KT s/w CL and discussed what happened in court. Discussed

straying from plan, CL's concerns with prosecution, etc. Did CC.

Info-Legal

 

3/4 3/2012

KT s/w CL's social worker Lisa Haileselassie and discussed case.
Discussed mental health issues and appropriate responses.
Discussed ways to assist CL's attorney.

 

iPA-
{Counseling

 

~ 3/4 3/2012 KT sAw CL’s social worker Lisa Haileselassie and discussed case.

Discussed mental health issues and appropriate responses.
Discussed ways to assist CL's attorney.

ICVTC

 

~ 3/13/2012 KT s/w CL $ social worker Lisa Haileselassie and discussed | case.

Discussed mental health issues and appropriate responses.
Discussed ways to assist CL’s attorney.

PA-Legal

 

-3/14/2012|\KT met w/ CL and Tajuana Johnson; discussed cases. Discussed

Idefense for violation as well as disorderly conduct. Discussed issues
jwith presentation in court, how to manage abusive and manipulative -
itactics by abuser, how to stay safe during process. Did CC w/ CL as |
ishe was extemely distressed by the conversation. Discussed plan
ifor upcoming court

ICrisis
(Counseling

 

 

|
L,

3/14/20121KT met w/ CL and Tajuana. Johnson; discussed cases, “Discussed

defense for violation as well as disorderly conduct. Discussed issues

tactics by abuser, how to stay safe during process. Did CC w/ CL as
ishe was extemely distressed by the conversation. Discussed plan
for upcoming court

with presentation in court, how to manage abusive and manipulative -

Info-Legal

 

~ 3/14/2012|KT met w/ CL and Tajuana Johnson; discussed cases. Discussed

defense for violation as well as disorderly conduct. Discussed issues
with Pr obieer in court, how to manage abusive and manipulative

 

PA-Legal

 

 

 
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he v was s extemely distressed by the ‘conversation. Discussed ¢ olan

for upcoming court

 

 

3/14/2012

3/14/2012)

KT met w/ CL and Tajuana Johnson: discussed cases. ‘Discussed
defense for violation as weil as disorderly conduct. Discussed issues |

she was extemely distressed by the conversation. Discussed plan
for upcoming court

defense for violation as well as disorderly conduct. Discussed issues

with presentation in court, how to manage abusive and manipulative
jtactics by abuser, how to stay safe during process. Did CC w/ CL as
ishe was extemely distressed by the conversation. Discussed plan

for upcoming court

~ \Safety

with presentation in court, how to manage abusive and manipulative |
tactics by abuser, how to stay safe during process. Did CC w/ CL as |

KT met w/ CL and Tajuana ‘Johnson; “discussed cases. Discussed __

Planning

~|Follow Up

 

3/14/2012

KT met w/ CL and Tajuana Johnson; discussed cases. Discussed
defense for violation as well as disorderly conduct. Discussed issues
with presentation in court, how to manage abusive and manipulative
tactics by abuser, how to stay safe during process. Did CC w/ CL as
she was extemely distressed by the conversation. Discussed plan

{for upcoming.court

iCJA-Other

 

3/15/2012|KT s/w CL who reported on court case. Raheem did not show up in

court again. Prosecutor requested an adjournment on the case and
advised he still needed more time. CL distressed by the extension of
the case but understood the legal strategy.

iFollow Up

 

 

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Crisis
Counseling

 

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Info-Legal

 

3/21/2012

KT s/w CL and discussed upcoming court. She spoke with her
defense attorney who wants her to begin collecting evidence. Atty
said she does not want to flush out the case before seeing what the
prosecutor has. CL and | discussed abuse issues and her efforts to
try to keep the situation under wraps. Did safety planning and
discussed strategy for getting protection once this is over. CL
became very distressed during the conversation and | tried to calm

jher down a little bit. She is very worried about the ways her abuser
jwill use this against her in the future.

iclooa

 

3/21/2012:

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Safety
Planning

 

 

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try to keep the situation under ce Did safety planning anal

 

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Pascal

Crisis
Counseling

 

~ 3/26/2012\k

jCL understood. CL stated that she was receiving messages on her

jexplicit things and was harassing her. She has received repeated
jmessages from this number. CL was very upset. Did a little CC.
Discussed legal strategy and our potential role - will help to gather

KT s/w CL and discussed that | could not attend Monday's meeting.

"Kelly Price" phone line from a blocked number and she believed it
was Kenya Wells calling her. CL stated that the called said sexually

documents as her defense attorney sees fit.

[Follow Up

 

3/26/2012

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Crisis
Counseling

 

 

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IInfo-Legal

 

 

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documents as her defense attorney sees Tit.

of 48

   

 

~ 4/3/2012

lannounced he wasn't ready, and the case was adjourned until

icounting days b/c it's dependent on the judge's calendar. CL

SD s/w CL who called in with an update on court. today. ADA
5/23/12. Discussed with CL that WebCrims won't be reliable for

requested call back from KT.

Follow Up

 

4/3/2012

SD s/w CL who called in with an ‘update on court today. “ADA —
announced he wasn't ready, and the case was adjourned until
5/23/12. Discussed with CL that WebCrims won't be reliable for
counting days b/c it's dependent on the judge's calendar. CL
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Crisis
Counseling

 

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counting days b/c it's dependent on the judge's calendar. CL
requested call back from KT.

Info-Legal

 

 

4/3/2012]KT called back CL

Follow Up

 

4/3/2012}

KT rec'd message from CL

Follow Up |

 

4/4/2012

 

SD consulted w/ Lisa at CVTC after s/w CL the day before re.
charges pending against CL, CL working w/ her attorney instead of |
around her, and how CL is coping with everything.

PA-Legal

 

4/4/2012

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around her, and how CL is coping with everything.

|PA-
Counseling

 

 

" 4/4/2012/F

jtentatively for next week.

KT sAw CL and made plans for meeting with attorney - scheduled _

| Follow Up

 

~ 4/4/2012:

KT left message for CL

~ [Follow Up

 

4/4/2012

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jtentatively for next week.

\Info-Legal

 

 

 

 

 

 

 

 

 

 

 

 

 

 

records and \ we discussed requesting a summary of allegations and

4/16/2012 \KT rec'd message from CLi inquiring about date of appointment Follow Up |
a 4/16/2012KT I’m for CL advising of appointment tomorrow at 4 Follow Up _
4/16/2012)KT \/m for CL advising of appointment tomorrow at 4 Info-Legal
_4/16/2012\KT emailed CL's attorney to confirm appointment time _ |CJA-Other —
4/16/2012 |KT rec'd response from CL’s attorney advising she was out of town \CJA-Other
___jand would check upon return fF

| _4/17/2012|KT rec'd message from CL confirming appt Follow Up
4/17/2012|KT left message for CL confirming appt. — Follow Up
4/17/2012\KT rec'd email from CL's attorney advising, she can still meet at4__ [CJA-Other
jtoday if CLis available. _ fe
4/30/2012\KT s/w CL and discussed. housing court issues. Discussed eviction | Crisis
process and strategies to respond. CL stated she has retained Counseling

 

 

 

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~~ |responding i in turn to each with ine apiece she as.

 

4/30/2012

KT s/w CL and discussed housing court issues. Discussed eviction
process and strategies to respond. CL stated she has retained

records and we discussed requesting a summary of allegations and |
jfesponding in turn to each with the evidence she has.

Info-
|Housing

 

 

4/30/2012}

Discussed pending ‘criminal case and meeting - will meet tomorrow
at 4 with attorney.

[CuA-Other

 

4/30/20121KT s/w CL and discussed housing court issues. Discussed eviction

process and strategies to respond. CL stated she has retained
records and we discussed requesting a summary of allegations and |
responding in turn to each with the evidence she has.

“|Follow Up

 

5/1/2012

jKT attended meeting with CL at CL's attorneys office. Discussed
collection of evidence to establish victimization. Discussed
evidentiary issues, legal relevance, defenses. Discussed issues with
prosecutorial misconduct - failure to pursue witnesses, etc.

Crisis’
Counseling

 

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|PA-Legal

 

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Safety
Planning

 

5/1/2012

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jprosecutorial misconduct - failure to pursue witnesses, etc,

ICJA-Other

 

5/4/2012

KT left message for CL re: evidence collecting.

Follow Up —

 

 

S/4/2012IM
5/16/2012

MM left message for CL, To collect more info on issues ‘on case.

Follow Up

 

KT emailed CL's attorney re: criminal case and evidence collecting.

CJA-Other

 

 

 

 

 

5/16/2012|KT rec'd response from CL's attorney advising no progress had been CJA-Other
made.
5/22/2012\KT rec'd email from CL's attorney advising that the 30-30 deadline 'CJA-Other
; had run out according to her information.
5/22/2012\KT replied to CL's attorney via email. _ _ jCJA-Other
5/24/2012|SD s/w CL again who called back to say that she was able to find [Follow Up

the case on WebCrims. | tried again and found it too. Case
continued to 6/6/12. Verified to CL that | could find it, and suggested |

 

 

 

_|that | probably couldn't find it this morning b/c the site hadn't updated | |

 
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yet.

 

 

5/24/2012!

 

SD called Lisa @ CVTC to verify the charges were dropped. No
answer. Left vm.

IPA-Legal

 

5/24/2012)

SD s/w CL again ‘who called back to say that she was able to find
ithe case on WebCrims. | tried again and found it too. Case
continued to 6/6/12. Verified to CL that | could find it, and suggested |
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‘Crisis
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yet.

Info-Legal |

 

5/24/2012

SD s/w CL who called in about what happened in the hearing
yesterday. Informed her of what | told Lisa about the WebCrims info,
but also that this doesn't mean the case was dismissed. It's possible
the website hasn't been updated yet; however, it sounds like the
case is about to be dismissed based on what happened in
yesterday's hearing.

Follow Up

 

8/24/2012

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= Info-Legal

 

"5/24/2012

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the website hasn't been updated yet; however, it sounds like the
case is about to be dismissed based on what happened in
yesterday's hearing.

\Crisis
jCounseling

 

5/29/2012

KT s/w CL and discussed court case. She believes that her case will
be dismissed based on speedy trial] requirements. CL's attorney will

file a motion to dismiss on that basis. Explained to CL that once the

motion to dismiss is filed the prosecutor will have the opportunity to

reply and the cas

 

5/30/2012

SD siv CL briefly at CVTC and discussed the CC case. CL believes
the case will be dropped b/c her attorney assured she would file the

motion to dismiss. Advised CL to be patient and folfow her attorney's
lead.

|Counseling ©

Crisis

 

~ 5/30/2012.

 

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lInfo-Legal

 

 

~ 5/30/2012

 

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Follow Up _

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ithe case will be dropped b/c her attorney assured she would file the |
imotion to dismiss. Advised CL to be patient and follow her attorney’ S|
lead.

5/31/2012)SD informed ¢ CL that in regards to getting her bail back, she will need! ——
ID but she should also discuss that w/ Tajuana to get a better idea of
how that will all work out.

5/31/20121SD s/w CL who called’ back returning my vm. She said that Tajuana Follow Up
filed the motion to dismiss. today, and is trying to get a clerk to look
at it today (she s unsure if ale can pull that off). CL will pee? us
posted.

5/31/2012/SD called CL back returning her messages from this morning. No ‘TFollow Up 7
answer. Left vm. ee

6/6/2012|KT emailed CL's attorney inresponse. _ | , . CJA-Other
6/6/2012)KT called CL and left message advising atty was, aware of situation. "Follow Up

6/6/2012)KT rec'd email from atty advising she had heard the case got called |CJA-Other
andre:CLlisreaction, |

_ 6/6/2012|KT emailed CL's attorney to see where she was, CJA-Other

See s/w CL who called in crisis. Her attorney was late to court and theilnfo-Other
udge. called the.case,-knowing-she was not present. The-case got.

adjourned for two months. CL is very fearful of what will happen and
stressed over trying to manage this case and the pressure from
Raheem. Discussed options; she is considering trying to fire Tajuana
tore represent herself today so that the hearing will be heard.

6/6/2012IKT s/w CL who called in crisis. Her attorney was late to court and the: Info-Legal
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jstressed over trying to manage this case and the pressure from
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and represent herself today so that the hearing will be heard,

6/6/2012iKT called CL and left message advising atty was aware of situation. Info-Legal —

6/13/2012/SD explained that if her defense attorney had known about the cert. Info-Legal
of readiness, then the mixup over what time the hearing was at _ oe

 

 

 

 

 

 

 

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EXHIBIT

 
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co mneurosociety.org

 

The Neuroscience of Trauma from Sexual
Assault

Imunoz

“I believe that you believe something happened to you.” The young woman repeated the
detective’s statement to me again. It had been the detective’s response to her question of whether
he believed her account of the brutal sexual assault she had experienced the past weekend.

As a counselor on the local rape crisis hotline, it was not the first time I had heard such a
demoralizing story of an individual’s attempt to report sexual violence to law enforcement.
Because her story had been disjointed, and she had stumbled over several sections of it, the
detective had thought that she was confabulating, creating a crime where none had occurred.

When [ hear of this dynamic, my thoughts often turn to the neuroscience of trauma. The brain’s
response to trauma is complex, and human behavior in response to trauma, particularly sexual
violence, is not well-understood but recent research does offer some important insights.

The rate of false report in Sexual violence is actually low, estimated by most studies to be around
7% (to compare, this is considerably lower than the rate of insurance fraud). Moreover, research
shows that sexual violence is in fact underreported: Many more incidents of violence occur than
are reported to law enforcement or other legal authorities. Studies show that there are many
factors that may predict whether an individual will report, including level of acquaintance with
the perpetrator and whether alcohol was consumed.

 

Taken together, research findings on the factually low rate of false report and on the
underreporting of the crime itself demonstrate a clear contradiction in people’s conceptions of
sexual violence and that violence in reality. There is a mismatch between media portrayals of
“ideal victims”- young, sober women attacked at knifepoint in parking lots at night — and
research on real-world victims- nearly three quarters of whom know the perpetrator (rising to
nearly 90% on college campuses) and only 7% of whom were attacked with a firearm, knife, or
other weapon.

This kind of misunderstanding of an individual’s experience of sexual assault is heartbreakingly
common. A high school student’s report of sexual assault was viewed skeptically by an elected
lawmaker, who stated on the public record that “some girls, they rape so easy.” More recently, a
fan base made it clear that it did not believe a woman accusing a sports hero of rape, and that she
was making the story up for attention.

Why are victims so often not believed? A large amount of this disbelief may be linked to the
behavioral patterns of victims themselves, which can vary widely from case to case and often
include behaviors of which the average police detective would be skeptical. To understand these

 
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patterns, it is helpful to look at how the brain and body respond to stress and trauma, such as that
experienced during sexual violence.

A relatively new area of the literature on human response to trauma, particularly the trauma
experienced during sexual violence, is that of “tonic immobility.” Defined as self-paralysis, or as
the inability to move even when not forcibly restrained, tonic immobility has long been studied
in non-human animals as the “freeze” response to extreme stress. Recently, it has been observed
in the laboratory as a stress response in humans, as well. This finding explains the reaction of
many victims of sexual violence, who report that they felt like they could not escape, even when
no weapon was present.

Additionally, due to an entire cascade of hormonal changes, which includes oxytocin and
opiates, associated with pain management, adrenaline, commonly associated with “fight or
flight,” and cortisol, functional connectivity between different areas of the brain is affected. In
particular, this situation affects pathways important for memory formation, which means that an
individual can fail to correctly encode and store memories experienced during trauma. While an
individual generally will remember the traumatic event itself (unless alcohol or drugs are present
in the system), these memories will feel fragmented, and may take time to piece together in a
way that makes narrative sense.

Behavioral patterns in individuals who have experienced sexual violence mirror those seen in
other traumatized populations, like combat veterans. This pattern of symptoms, known as post-
traumatic stress disorder, or PTSD, can inelude-emotional numbness, intrusive memories of the
traumatic event, and hyperarousal (increased awareness of one’s surroundings, or constantly
being “on guard”).

Research shows that the majority of individuals who experience sexual assault demonstrate at
least some of these symptoms of PTSD immediately after the assault and through the two weeks
following the assault. Nine months after the assault, 30% of individuals still reported this pattern
of symptoms. Overall, it is estimated show that nearly one-third of all victims of sexual assault
will develop PTSD at some point in their lives.

These findings are complicated by the fact that the response of any given person to trauma can
look extremely different, based on previous life experiences and health factors. Research has
found that cognitive variables, such as perceived negative responses of other people and poor
coping strategies, were significantly linked both to development of PTSD and severity of PTSD.
In another study, lower cortisol levels as measured in the emergency room have been related to
increased risk for the development of PTSD. In other words, a maladaptive version of
nature/nurture is involved in individuals’ responses to trauma.

As with many questions related to health, it is difficult to pinpoint the cause: existing
neurobiological and psychosocial risk factors, such as mental illness, can contribute to the
development of PTSD, and PTSD can lead to other health problems. There is no hard and fast
rule of victimology: every individual who experiences sexual violence will respond differently.

 
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Therefore, the detective who was unable to believe the story told to him by my crisis caller was
likely misinterpreting the discrepancies in her story as lies, rather than as her brain’s responses to
extreme trauma. Best practices now suggest that officers wait at least two sleep cycles, generally
48 hours, before interviewing a victim of sexual violence. Additionally, the interview should be
handled in a victim-centered manner, not as an interrogation. Research-informed practices have
the potential for not only better outcomes for survivors of sexual violence, but also for reporting
and prosecution rates for our legal system.

Kathryn Gigler is a doctoral candidate studying the cognitive neuroscience of learning and
memory at Northwestern University. She also serves as director of the Women’s Center at
Elizabeth City State University.

A version of this column also appeared on Huffington Post as “How Brain Science Can Help
Explain Discrepancies in a Sexual Assault Survivor’s Story.”

Are you a member of CNS with research you want to share? Consider contributing a guest
post about your work or trends in the field. It could then become part of the new HuffPost
Science series exploring the surge of new research on the human brain. Email your ideas to
CNS Public Information Officer, Lisa M.P. Munoz (cns.publicaffairs@gmail.com).

 
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EXHIBIT F

 
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THE CITY OF NEW YorK

ZACHARY W. CARTER LAW DEPARTMENT DIANA LAWLESS
Corporation Counsel 100 CHURCH STREET - Phone (212) 356-0848
NEW YORK, NY 10007 Fan (212) 456-2509

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January 27, 2016

By Email , .

Hon. Catherine O’ Hagan Wolfe, Clerk of Court
U.S. Court of Appeals for the Second Circuit
Thurgood Marshall U.S. Courthouse

40 Foley Square

New York, NY 10007

Re: Price v. Simmons, Case No. 16-243
Dear Ms. Wolte

The New York City Law Department respectfully requests that it be
stricken from the docket sheet as appearing for defendants Detective Linda
Simmons, Inspector Obe, and Rose Pierre-Louis in this appeal.

In this case, the district court dismissed the plaintiff's complaint sua
sponte, apparently before these defendants had been served with process. These
defendants did not appear before the district court, and thus the Law Department
did not enter an appearance on their behalves, We therefore request that the Law
Department not be listed on the docket sheet for this appeal as appearing as
counsel for these defendants.

In addition, please note the attached order of the District Court dated
January 26, 2016 (ECF No. 11), which granted the plaintiff reconsideration of the
order appealed from.

We will continue to monitor the appeal as a matter of interest.
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Thank you for your time and consideration.

Respectfully, —,

Shae o thighe

Diana Lawless
Assistant Corporation Counsel

encl: District Court order dated January 26, 2016 (ECF No. | 1)

ec:, Kelly Price, appellant pro se (by U.S. mail)
Patricia J. Bailey, Assistant District Attorney (by U.S. mail)

 
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EXHIBIT #6

 
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